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 7                      UNITED STATES DISTRICT COURT
 8                     NORTHERN DISTRICT OF CALIFORNIA
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10                                  )
     IN RE RUBBER CHEMICALS         )
11   ANTITRUST LITIGATION,          )       No. M:04-01648 MJJ (BZ)
                                    )
12                                  )       THIRD DISCOVERY ORDER
                                    )
13                                  )
                                    )
14                                  )
                                    )
15
16        Non-class plaintiffs PolyOne Corporation (PolyOne) and
17   Parker Hannifin Corporation (Parker) request the court to
18   compel defendant Chemtura (f/k/a Crompton) Corporation
19   (Crompton) to produce documents dated 1989 to 1994 (pre-1994
20   documents) and transactional sales data for the period from
21   1989 to October 1992 (pre-1992 sales data).       For the following
22   reasons, PolyOne’s and Parker’s request is GRANTED IN PART AND
23   DENIED IN PART.
24        Crompton does not dispute that PolyOne and Parker have
25   alleged a global conspiracy beginning at least as early as
26   January 1994 and continuing to at least December 2002.
27   Whatever the scope of the original requests for the pre-1994
28   documents, by letter to the court dated February 14, 2006,

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 1   Parker and PolyOne have limited their request to documents
 2   concerning the pricing, sale and marketing of Rubber Chemicals
 3   from the files of 11 named individuals.       As so limited, the
 4   court disagrees that PolyOne and Parker have “failed to
 5   identify with any specificity” the pre-1994 documents they
 6   seek and finds the documents discoverable.       The court agrees
 7   with PolyOne and Parker that documents which predate the
 8   alleged 1994 start of the conspiracy may be relevant to show
 9   the formation of the conspiracy.
10        Crompton next argues that PolyOne’s and Parker’s request
11   for the pre-1992 sales data imposes a burden on Crompton to
12   produce paper invoices from unreasonably remote time periods
13   without identifying “how, or even if, their damages expert
14   would use this information.”     See Opp., p. 2.    Fed. R. Civ. P.
15   26(b)(2) limits the scope of discovery if the court determines
16   that “the discovery sought is unreasonably cumulative or
17   duplicative” or “the burden or expense of the proposed
18   discovery outweighs its likely benefit,” including
19   considerations of “the importance of the proposed discovery in
20   resolving the issues.”    PolyOne and Parker contend that
21   discovering sales data for the period before and after the
22   alleged conspiracy is “standard” in antitrust price-fixing
23   cases in order to calculate damages.      While this may be true,
24   on this record, it does not justify the discovery sought.
25   Crompton has already provided PolyOne and Parker with sales
26   data dating back to October 1992, which is as far back as
27   Crompton’s electronic sales data goes.      Crompton has also
28   agreed to provide sales data in electronic form through

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 1    December 2005, so PolyOne and Parker have, or will have, sales
 2    data pre-dating and post-dating the plea period by
 3    approximately three years.           What PolyOne and Parker have
 4    failed to explain is why the information they have for the 2-3
 5    year period preceding the conspiracy is not sufficient for
 6    their purposes and why additional discovery of non-electronic
 7    data which would be costly to produce is warranted.           See In re
 8    Microcrystalline Cellulose Antitrust Litigation, 221 F.R.D.
 9    428, 430 (E.D. Penn. 2004)(denying motion to compel sales and
10    pricing data discovery for additional three years because of
11    “the minimum potential benefits”).1
12             IT IS HEREBY ORDERED that by March 22, 2006, Crompton
13    shall produce the requested pre-1994 documents from the files
14    of the individuals identified on page 2 of Mr. Noss’ February
15    14, 2006 letter [doc # 305-1].            PolyOne’s and Parker’s request
16    to compel Crompton to produce transactional sales data for the
17    period from 1989 to October 1992 is DENIED.
18    Dated:     March 8, 2006
19                                       Bernard Zimmerman
                                   United States Magistrate Judge
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               Similar to this case, in Microcrystalline, the court
24   “acknowledge[d] that sales and pricing data . . . are needed in
     order to prove liability and calculate damages” but was “not
25   convinced that plaintiffs require more than three years of such
     data to conduct a meaningful ‘before and after’ analysis.” 221
26   F.R.D. at 430. PolyOne and Parker have only made general
     statements that the requested discovery would be useful in
27   calculating damages whereas plaintiffs in Microcrystalline
     submitted an expert’s declaration in support of their discovery
28   request.

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